 Case 4:19-cv-00658-ALM Document 12 Filed 12/11/19 Page 1 of 2 PageID #: 66



                           IN THE UNITED STATES COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

JOHN DOE                                         §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §          Civil Action No. 4:19-cv-00658
                                                 §                     (Jury)
WILLIAM MARSH RICE                               §
UNIVERSITY d/b/a RICE UNIVERSITY,                §
EMILY GARZA as agent for                         §
Rice University, and DONALD OSTDIEK,             §
as agent for Rice University,                    §
                                                 §
       Defendants.                               §


              MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

       Pursuant to Fed. R. Civ. P. 5.2, Defendants William Marsh Rice University, Emily Garza

and Donald Ostdiek (collectively, “Defendants”), through undersigned counsel, move to file under

seal Exhibit A, Exhibit 2B, and Exhibit C to Defendants’ Motions to Dismiss For Improper Venue

or Alternatively to Transfer Venue, and to Dismiss for Failure to State a Claim, attached thereto,

which contain personal information.

       Accordingly, Defendants respectfully request that this Court issue an order sealing the

exhibits, or in the alternative, issue a protective order and cause additional personal information

therein to be redacted before making Exhibit A, Exhibit B, and Exhibit C to Defendants’ Motions

to Dismiss For Improper Venue or Alternatively to Transfer Venue, and to Dismiss for Failure to

State a Claim part of the public record.
 Case 4:19-cv-00658-ALM Document 12 Filed 12/11/19 Page 2 of 2 PageID #: 67



                                            Respectfully submitted,

                                            RUSTY HARDIN & ASSOCIATES, LLP

                                             /s/ Terry Kernell
                                            Russell Hardin, Jr.
                                            State Bar No. 08972800
                                            Fed. I.D. No. 19424
                                            rhardin@rustyhardin.com
                                            Terry D. Kernell
                                            State Bar No. 11339020
                                            Federal I.D. No. 15074
                                            tkernell@rustyhardin.com
                                            Emily M. Smith
                                            State Bar No. 24083876
                                            Fed. I.D. No. 1890677
                                            esmith@rustyhardin.com

                                            5 Houston Center
                                            1401 McKinney Street, Suite 2250
                                            Houston, Texas 77010
                                            Telephone: (713) 652-9000
                                            Facsimile: (713) 652-9800

                                            ATTORNEYS FOR DEFENDANTS
                                            WILLIAM MARSH RICE UNIVERSITY
                                            AND EMILY GARZA




                               CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of December, 2019, a copy of Defendants’ Motion for
Leave to File Documents Under Seal was electronically filed using the CM/ECF system, which
will automatically serve a Notice of Electronic Filing to all registered parties.



                                             /s/ Terry Kernell
                                            Terry Kernell
